UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                      x
  STANDARD OIL CREDIT HOLDING GROUP,                  :    1:17-CV-00801-JBW-RER
  LLC,                                                :
                                                      :                 CIVIL ACTION
          Plaintiff,                                  :
                                                      :             ORDER SCHEDULING
  vs.                                                 :             FORECLOSURE SALE
                                                      :
  RENEE BUTLER a/k/a RENEE MASLIKHOV,                 :
  SERGEI MASLIKHOV, NEW YORK CITY                     :
  ENVIRONMENTAL CONTROL BOARD, NEW                    :
  YORK CITY PARKING VIOLATIONS                        :
  BUREAU,                                             :
                                                      :
          Defendants.                                 :
                                                      :
                                                      x

        WHEREAS a Judgment of Foreclosure and Sale (the “Judgment”) was entered on

September 12, 2017. On October 26, 2017, an Order was entered appointing David Louis Cohen,

Esq. as Referee.

        WHEREAS, on November 29, 2017 said Judgment was assigned to Standard Oil Credit

Holding Group, LLC.

        WHEREAS, a foreclosure sale was scheduled for Friday, December 1, 2017 at 2:00 p.m.

in Magistrate Judge Reyes’s Courtroom 2E North, 225 Cadman Plaza East, Brooklyn, NY 11201.

        WHEREAS, on November 30, 2017, defendant Renee Butler a/k/a Renee Maslikhov filed

a Chapter 13 bankruptcy proceeding. As such, the foreclosure sale was stayed. On November 20,

2018, the case was dismissed.

        WHEREAS, it is hereby:



        ORDERED, that the foreclosure sale take place on Friday, May 3, 2019 at 2:00 p.m. in
Magistrate Judge Reyes’s Courtroom 2E North, 225 Cadman Plaza East, Brooklyn, NY 11201.

      ORDERED, that all other orders contained in the Judgment remain in effect.



                                          SO ORDERED.
                                          Dated:

                                          ________________________________
                                          RAMON E. REYES, JR.
                                          United States Magistrate Judge
